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  16

  17                       UNITED STATES DISTRICT COURT
  18                     CENTRAL DISTRICT OF CALIFORNIA
  19   IN RE: NATIONAL FOOTBALL                    CASE NO.: 2:15-ml-02668−PSG (JEMx)
       LEAGUE’S “SUNDAY TICKET”
  20   ANTITRUST LITIGATION                        DISCOVERY MATTER
  21                                               NOTICE OF MOTION AND
       THIS DOCUMENT RELATES TO ALL                MOTION RE PLAINTIFFS’
  22   ACTIONS                                     MOTION TO COMPEL
                                                   PRODUCTION OF DOCUMENTS
  23                                               BY NFL CLUB DEFENDANTS
                                                   Magistrate Judge: Hon. John E.
  24                                               McDermott
                                                   Date/Time: January 11, 2022 at 10:00
  25                                               a.m.
                                                   Discovery Cutoff Date: 5/15/2022
  26                                               Pretrial-Conference Date: TBD
                                                   Trial Date: TBD
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   1   TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
   2         PLEASE TAKE NOTICE that on January 11, 2022 at 10:00 a.m., or as soon
   3   thereafter as this matter may be heard, Plaintiffs, on behalf themselves and all
   4   others similarly situated, (“Plaintiffs”) will and hereby respectfully move for an
   5   order to Compel Production of Documents By NFL Defendants pursuant to Federal
   6   Rule of Civil Procedure 37.
   7         This Motion will be heard in the Courtroom of the Honorable John E.
   8   McDermott for the United States District Court in the Central District of California.
   9   The Court is located at the Roybal Federal Building and United States Courthouse,
  10   255 E. Temple Street, Los Angeles, California 90012, Courtroom 640, 6th Floor.
  11         This Motion is based upon this notice, the concurrently filed joint stipulation,
  12   the exhibits and declarations attached thereto, the pleadings and records on file in
  13   this action and such other matters as the Court deems necessary and proper.
  14         This Motion is made following conference of counsel pursuant to Local Rule
  15   37-1, which took place on November 18, 2021.
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  17   DATED: December 14, 2021               Respectfully submitted,

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                                          Attorneys for Plaintiffs’ Interim Co-Lead
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